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FILED

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA M20 KOF 12 PH 2: 3h

JACKSONVILLE DIVISION
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UNITED STATES OF AMERICA ex rel, — :

THOMAS HEYCK,

Plaintiffs, Case No. 3:18-cv-590-J-39PDB
V. FILED UNDER SEAL

MORI, BEAN & BROOKS, P.A,

Defendant.

 

UNITED STATES’ NOTICE OF INTERVENTION FOR PURPOSES
OF SETTLEMENT AND REQUEST FOR UNSEALING

The United States of America, by and through the undersigned counsel and pursuant
to the False Claims Act (FCA), 31 U.S.C. § 3730(b)(4), hereby notifies the Court that it
intervenes in this gui tam action as to certain FCA claims brought on behalf of the United
States by relator Thomas Heyck, for purposes of effecting a Settlement Agreement with an
effective date of November 2, 2020.

The United States expects to file stipulations of dismissal in this and as to the matters
that are resolved by the Settlement Agreement, after Defendants have paid the United States
the monetary amounts required by the Settlement Agreement.

In addition to the above, the United States respectfully requests the following:
1. The Complaint in this Action, this Notice, and the resulting Order be

unsealed.
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2. All other papers previously on file in this action remain under seal

(except as previously ordered by the Court) because, in discussing the content and extent of

the United States’ investigation, such papers were provided by law to the Court alone for the

sole purpose of evaluating whether the seal and time for making an election to intervene

should be extended.

3. Except as may be specifically ordered by the Court, the seal be lifted

on all matters occurring in this action after the date of this Order.

A proposed Order is submitted herewith for the Court’s consideration.

Dated: November 12, 2020

Respectfully submitted,

MARIA CHAPA LOPEZ
United States Attorney

/s/ Sean P. Keefe

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Counsel for the United States of America
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CERTIFICATE OF SERVICE
I hereby certify that, on this 11th day of November, 2020, I caused the foregoing and
the accompanying proposed Order, to be served by first class mail, postage pre-paid, on the
following counsel of record:

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/s/ Sean P. Keefe
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Assistant United States Attorney
